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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                 )    No. 21 CR 698
                                         )
      v.                                 )    Judge Robert W. Gettleman
                                         )    Magistrate Judge Sunil R. Harjani
RONALD T. MOLO                           )    Under Seal

              GOVERNMENT’S MOTION TO UNSEAL THE CASE

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby moves to unseal

this case for the reasons set forth below:

      1.     On November 15, 2021, a grand jury returned an indictment charging

defendant ROBERT T. MOLO with six counts of wire fraud (18 U.S.C. § 1343). The

Clerk of the Court issued a bench warrant on November 16, 2021.

      2.     On November 23, 2021, MOLO voluntarily surrendered to the FBI in

Tampa, Florida. MOLO is currently in the custody of U.S. Marshals in that district,

awaiting his initial court appearance.

      3.     The case, court docket, and all court filings are currently under seal and

not accessible to any member of the public.

      4.     For purposes of conducting MOLO’s initial court appearance and all

future court proceedings, the government now requests that the case be unsealed so

that the indictment and court docket are publicly accessible.
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      WHEREFORE, the government respectfully requests that the Court issue an

order unsealing this case.



                                            Respectfully submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney

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